                            Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 1 of 47
  Fill in this information to identify your case and this filing:
  Debtor 1               Ann                         Susan               Hightower
                         First Name                  Middle Name         Last Name

  Debtor 2
  (Spouse, if filing) First Name                     Middle Name         Last Name


  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

  Case number            18-35886
  (if known)                                                                                                               Check if this is an
                                                                                                                            amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                              12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

           No. Go to Part 2.
           Yes. Where is the property?

1.1.                                                       What is the property?                         Do not deduct secured claims or exemptions. Put the
547 Chelsea St.                                            Check all that apply.                         amount of any secured claims on Schedule D:
                                                                                                         Creditors Who Have Claims Secured by Property.
Street address, if available, or other description
                                                              Single-family home
                                                              Duplex or multi-unit building             Current value of the       Current value of the
                                                              Condominium or cooperative                entire property?           portion you own?
Bellaire                         TX       77401               Manufactured or mobile home                       $1,100,000.00              $1,100,000.00
City                             State    ZIP Code
                                                              Land
                                                              Investment property                       Describe the nature of your ownership

Harris                                                        Timeshare                                 interest (such as fee simple, tenancy by the
                                                                                                         entireties, or a life estate), if known.
County                                                        Other

                                                           Who has an interest in the property?
                                                                                                         SINGLE FAMILY HOME
                                                           Check one.

                                                              Debtor 1 only                                Check if this is community property
                                                                                                             (see instructions)
                                                              Debtor 2 only
                                                              Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another

                                                           Other information you wish to add about this item, such as local
                                                           property identification number:




Official Form 106A/B                                                   Schedule A/B: Property                                                       page 1
                           Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 2 of 47

Debtor 1         Ann Susan Hightower                                                                 Case number (if known)        18-35886

1.2.                                                    What is the property?                              Do not deduct secured claims or exemptions. Put the
2673 Blumberg Park, Seguin, TX                          Check all that apply.                              amount of any secured claims on Schedule D:
                                                                                                           Creditors Who Have Claims Secured by Property.
                                                           Single-family home

Guadalupe                                                  Duplex or multi-unit building                  Current value of the            Current value of the
County                                                     Condominium or cooperative                     entire property?                portion you own?

                                                           Manufactured or mobile home                                $453,000.00                 $453,000.00
                                                           Land
                                                           Investment property                            Describe the nature of your ownership
                                                           Timeshare                                      interest (such as fee simple, tenancy by the
                                                                                                           entireties, or a life estate), if known.
                                                           Other

                                                        Who has an interest in the property?
                                                                                                           Fee simple
                                                        Check one.

                                                           Debtor 1 only                                     Check if this is community property
                                                                                                               (see instructions)
                                                           Debtor 2 only
                                                           Debtor 1 and Debtor 2 only
                                                           At least one of the debtors and another

                                                        Other information you wish to add about this item, such as local
                                                        property identification number:

1.3.                                                    What is the property?                              Do not deduct secured claims or exemptions. Put the
3311 Lidiak Rd., La Grange, TX                          Check all that apply.                              amount of any secured claims on Schedule D:
                                                                                                           Creditors Who Have Claims Secured by Property.
                                                           Single-family home
Ranch                                                      Duplex or multi-unit building                  Current value of the            Current value of the
Vacation/investment property                               Condominium or cooperative                     entire property?                portion you own?

                                                           Manufactured or mobile home                             $2,100,000.00                $2,100,000.00
Fayette                                                    Land
County                                                     Investment property                            Describe the nature of your ownership
                                                           Timeshare                                      interest (such as fee simple, tenancy by the
                                                                                                           entireties, or a life estate), if known.
                                                           Other

                                                        Who has an interest in the property?
                                                                                                           Fee simple
                                                        Check one.

                                                           Debtor 1 only                                     Check if this is community property
                                                                                                               (see instructions)
                                                           Debtor 2 only
                                                           Debtor 1 and Debtor 2 only
                                                           At least one of the debtors and another

                                                        Other information you wish to add about this item, such as local
                                                        property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.........................................................          $3,653,000.00


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

          No
          Yes




Official Form 106A/B                                                  Schedule A/B: Property                                                               page 2
                         Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 3 of 47

Debtor 1         Ann Susan Hightower                                                               Case number (if known)        18-35886

3.1.                                                  Who has an interest in the property?               Do not deduct secured claims or exemptions. Put the
Make:                    Ford                         Check one.                                         amount of any secured claims on Schedule D:
                                                                                                         Creditors Who Have Claims Secured by Property.
Model:                   Expedition                      Debtor 1 only

Year:                    2002                            Debtor 2 only                           Current value of the                   Current value of the

Approximate mileage:
                                                         Debtor 1 and Debtor 2 only              entire property?                       portion you own?

                                                         At least one of the debtors and another             Unknown                              Unknown
Other information:
2002 Ford Expedition- titled in                          Check if this is community property
husband's name only                                       (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

          No
          Yes

4.1.                                                  Who has an interest in the property?               Do not deduct secured claims or exemptions. Put the
Make:                    Nautique                     Check one.                                         amount of any secured claims on Schedule D:
                                                                                                         Creditors Who Have Claims Secured by Property.
Model:                   Air Nautique                    Debtor 1 only

Year:                    2002                            Debtor 2 only                           Current value of the                   Current value of the

Other information:
                                                         Debtor 1 and Debtor 2 only              entire property?                       portion you own?

                                                         At least one of the debtors and another            $20,000.00                           $20,000.00
2002 Nautique Air Nautique
                                                         Check if this is community property
                                                          (see instructions)
5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.........................................................             $20,000.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                         Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware

          No
          Yes. Describe..... See continuation page(s).                                                                                            Unknown

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games

          No
          Yes. Describe.....

8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

          No
          Yes. Describe..... See continuation page(s).                                                                                           $16,200.00

9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments

          No
          Yes. Describe..... Cannon Single Shot Lens; golf clubs                                                                                   $1,000.00

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment

          No
          Yes. Describe..... Husband is believed to possess a firearm                                                                             Unknown



Official Form 106A/B                                                Schedule A/B: Property                                                               page 3
                               Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 4 of 47

Debtor 1         Ann Susan Hightower                                                                                              Case number (if known)                   18-35886

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

          No
          Yes. Describe..... Clothing / Wearing Apparel for adult(s)                                                                                                                           $1,000.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver

          No
          Yes. Describe..... rings, watch, earrings, pendant, bracelets, necklaces, etc.                                                                                                       $4,400.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses

          No
          Yes. Describe..... cat                                                                                                                                                                   $25.00

14. Any other personal and household items you did not already list, including any health aids you
    did not list

          No
          Yes. Give specific
           information.............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here........................................................................................................                                        $52,625.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                      Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                      portion you own?
                                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                                      claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition

          No
          Yes.................................................................................................................................... Cash: ..........................               $100.00

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

          No
          Yes............................                    Institution name:

             17.1.      Checking account:                     Chase (Checking 0979)                                                                                                               $127.37
             17.2.      Checking account:                     Chase (Checking 0068)                                                                                                             $1,806.27
             17.3.      Savings account:                      Chase (Savings/Money Market 4149)                                                                                                     $56.36
             17.4.      Savings account:                      Chase (Savings/Money Market 1354)                                                                                                     $47.78
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts

          No
          Yes............................     Institution or issuer name:




Official Form 106A/B                                                                     Schedule A/B: Property                                                                                       page 4
                              Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 5 of 47

Debtor 1         Ann Susan Hightower                                                                 Case number (if known)      18-35886

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture

          No
          Yes. Give specific
           information about
           them..........................     Name of entity:                                                      % of ownership:

                                              Hightower Capital Group, Inc.                                                                        Unknown
                                              Tres Familias, Inc.                                                                                  Unknown
                                              A. Susan Hightower, P.A.                                                                             Unknown
                                              Punk n Buddy, Inc.                                                                                   Unknown
                                              South Texas Properties, Inc.                                                                         Unknown
                                              Possible Community Interest in Pierson Insurance
                                              Service Group, Inc.                                                                                  Unknown
                                              Possible Community Interest in Life Change Ventures,
                                              LLC                                                                                                  Unknown
                                              Possible Community Interest in Exordia Partners, LLC                                                 Unknown
                                              Possible Community Interest in Wham Bam Ventures,
                                              LLC                                                                                                  Unknown
                                              Possible Community Interest in 1033 Solutions, LLC                                                   Unknown
                                              Possible Community Interest in PRO-VISION
                                              ENDOWMENT FUND, INC.                                                                                 Unknown
                                              Possible Community Interest in HPT Enterprises LLC                                                   Unknown
                                              Possible Community Interest in The Tamale Gourmet,
                                              LLC                                                                                                  Unknown
                                              Limited Partnership Interest in Alta Torre, Ltd.                                                     Unknown
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

          No
          Yes. Give specific
           information about
           them..........................     Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans

          No
          Yes. List each
           account separately.               Type of account:       Institution name:
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

          No
          Yes............................                      Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
     No
     Yes............................ Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

          No
          Yes............................    Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)


Official Form 106A/B                                                      Schedule A/B: Property                                                      page 5
                            Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 6 of 47

Debtor 1        Ann Susan Hightower                                                       Case number (if known)    18-35886

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit

          No
          Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

          No
          Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

          No
          Yes. Give specific     Texas Medical Board License                                                                                $1.00
           information about them

Money or property owed to you?                                                                                                Current value of the
                                                                                                                              portion you own?
                                                                                                                              Do not deduct secured
                                                                                                                              claims or exemptions.

28. Tax refunds owed to you

          No
          Yes. Give specific information                                                                          Federal:
           about them, including whether
           you already filed the returns                                                                           State:
           and the tax years......................
                                                                                                                   Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

          No
          Yes. Give specific information                                                             Alimony:

                                                                                                      Maintenance:

                                                                                                      Support:

                                                                                                      Divorce settlement:

                                                                                                      Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else

          No
          Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

          No
          Yes. Name the insurance
           company of each policy
           and list its value................   Company name:                         Beneficiary:                      Surrender or refund value:

                                                Principal Life Insurance Company
                                                Type: term                            Virginia Marie Hightower &
                                                Insured: debtor                       William Jacob                                          $0.00




Official Form 106A/B                                             Schedule A/B: Property                                                       page 6
                            Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 7 of 47

Debtor 1         Ann Susan Hightower                                                                             Case number (if known)            18-35886

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died

          No
          Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue

          No
          Yes. Describe each claim........ claims against husband                                                                                                   Unknown

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims

          No
          Yes. Describe each claim........

35. Any financial assets you did not already list

          No
          Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................              $2,138.78


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

          No. Go to Part 6.
          Yes. Go to line 38.

                                                                                                                                                           Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.
38. Accounts receivable or commissions you already earned

          No
          Yes. Describe..

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices

          No
          Yes. Describe..

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

          No
          Yes. Describe.. tractor                                                                                                                                   Unknown

41. Inventory

          No
          Yes. Describe..

42. Interests in partnerships or joint ventures

          No
          Yes. Describe..... Name of entity:                                                                                     % of ownership:




Official Form 106A/B                                                         Schedule A/B: Property                                                                        page 7
                            Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 8 of 47

Debtor 1         Ann Susan Hightower                                                                             Case number (if known)            18-35886

43. Customer lists, mailing lists, or other compilations

          No
          Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                 No
                 Yes. Describe.....
44. Any business-related property you did not already list

          No
          Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................                   $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

          No. Go to Part 7.
          Yes. Go to line 47.


                                                                                                                                                           Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish

          No
          Yes....

48. Crops--either growing or harvested

          No
          Yes. Give specific
           information................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

          No
          Yes....

50. Farm and fishing supplies, chemicals, and feed

          No
          Yes....

51. Any farm- and commercial fishing-related property you did not already list

          No
          Yes. Give specific
           information................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................                   $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

          No
          Yes. Give specific information.




Official Form 106A/B                                                         Schedule A/B: Property                                                                        page 8
                               Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 9 of 47

Debtor 1          Ann Susan Hightower                                                                                       Case number (if known)                18-35886


54. Add the dollar value of all of your entries from Part 7. Write that number here.............................................                                                     $0.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................           $3,653,000.00

56. Part 2: Total vehicles, line 5                                                                                 $20,000.00

57. Part 3: Total personal and household items, line 15                                                            $52,625.00

58. Part 4: Total financial assets, line 36                                                                          $2,138.78

59. Part 5: Total business-related property, line 45                                                                        $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                               $0.00

61. Part 7: Total other property not listed, line 54                                              +                         $0.00

                                                                                                                                          Copy personal
62. Total personal property.                  Add lines 56 through 61..................                            $74,763.78             property total                  +     $74,763.78


63. Total of all property on Schedule A/B.                         Add line 55 + line 62................................................................................       $3,727,763.78




Official Form 106A/B                                                                Schedule A/B: Property                                                                             page 9
                       Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 10 of 47

Debtor 1     Ann Susan Hightower                                               Case number (if known)   18-35886


6.   Household goods and furnishings (details):

     2 Sofa(s), loveseat, 4 TVs, computer, stereo, coffee table, end tables, sofa tables, kitchen table,           $30,000.00
     dining table, china cabinet, fridge/freezer, washer/dryer, stove, microwave, dishwasher, dishes,
     pots/pans, 3 beds, dresser, nightstand, lamps, accessories, Ottomans (qty. 4), Side Chairs (qty.
     6), Dining Chairs (qty. 10), Lounge Chairs (qty. 8), Barstools (qty. 5), Area Rugs (qty. 5), Decorative
     Pillows (qty. 25), Game Table (qty. 1), Antique Chest (qty. 1), Console Table (qty. 3), Antique
     Oversized Mirror (qty. 1), Piano (qty. 1), Drapery (qty. 5 pairs), Knife Collection (1 chest), Chaise
     Lounge (qty. 1), Outdoor Furniture (qty. 1 sofa, qty. 3 chairs, qty. 1 chaise), misc household goods
     furnishings for husband's seperate residence (amount and type unknown value)                                   Unknown

8.   Collectibles of value (details):

     35 pieces of art, sculpture, paintings, drawings, multi mediums                                               $15,000.00

     Family videos converted to DVDs, coffee table books, family photos, porcelain doll collection                  $1,200.00




Official Form 106A/B                                  Schedule A/B: Property                                           page 10
                      Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 11 of 47
 Fill in this information to identify your case:
 Debtor 1            Ann                  Susan                  Hightower
                     First Name           Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS
                                                                                                                    Check if this is an
 Case number         18-35886                                                                                        amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.

         You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
         You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                       $1,100,000.00                                   Const. art. 16 §§ 50, 51, Texas
547 Chelsea St.                                                                  100% of fair market     Prop. Code §§ 41.001-.002
                                                                                  value, up to any
Line from Schedule A/B:      1.1
                                                                                  applicable statutory
                                                                                  limit

Brief description:                                          Unknown                                      Tex. Prop. Code §§ 42.001(a),
2002 Ford Expedition- titled in husband's                                        100% of fair market     42.002(a)(9)
name only                                                                         value, up to any
Line from Schedule A/B: 3.1                                                       applicable statutory
                                                                                  limit




3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

         No
         Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           No
           Yes
Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
                     Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 12 of 47

Debtor 1      Ann Susan Hightower                                                    Case number (if known)   18-35886

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                     $30,000.00                                  Tex. Prop. Code §§ 42.001(a),
2 Sofa(s), loveseat, 4 TVs, computer,                                       100% of fair market    42.002(a)(1)
stereo, coffee table, end tables, sofa                                       value, up to any
tables, kitchen table, dining table, china                                   applicable statutory
cabinet, fridge/freezer, washer/dryer,                                       limit
stove, microwave, dishwasher, dishes,
pots/pans, 3 beds, dresser, nightstand,
lamps, accessories, Ottomans (qty. 4),
Side Chairs (qty. 6), Dining Chairs (qty. 10),
Lounge Chairs (qty. 8), Barstools (qty. 5),
Area Rugs (qty. 5), Decorative Pillows (qty.
25), Game Table (qty. 1), Antique Chest
(qty. 1), Console Table (qty. 3), Antique
Oversized Mirror (qty. 1), Piano (qty. 1),
Drapery (qty. 5 pairs), Knife Collection (1
chest), Chaise Lounge (qty. 1), Outdoor
Furniture (qty. 1 sofa, qty. 3 chairs, qty. 1
chaise), misc household goods
Line from Schedule A/B:    6

Brief description:                                      Unknown                                    Tex. Prop. Code §§ 42.001(a),
furnishings for husband's seperate                                          100% of fair market    42.002(a)(1)
residence (amount and type unknown                                           value, up to any
value)                                                                       applicable statutory
Line from Schedule A/B: 6                                                    limit

Brief description:                                     $15,000.00                                  Tex. Prop. Code §§ 42.001(a),
35 pieces of art, sculpture, paintings,                                     100% of fair market    42.002(a)(1)
drawings, multi mediums                                                      value, up to any
Line from Schedule A/B:   8                                                  applicable statutory
                                                                             limit

Brief description:                                      $1,200.00                                  Tex. Prop. Code §§ 42.001(a),
Family videos converted to DVDs, coffee                                     100% of fair market    42.002(a)(1)
table books, family photos, porcelain doll                                   value, up to any
collection                                                                   applicable statutory
Line from Schedule A/B:  8                                                   limit

Brief description:                                      $1,000.00                                  Tex. Prop. Code §§ 42.001(a),
Cannon Single Shot Lens; golf clubs                                         100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,000.00                                  Tex. Prop. Code §§ 42.001(a),
Clothing / Wearing Apparel for adult(s)                                     100% of fair market    42.002(a)(5)
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $4,400.00                                  Tex. Prop. Code §§ 42.001(a),
rings, watch, earrings, pendant, bracelets,                                 100% of fair market    42.002(a)(6)
necklaces, etc.                                                              value, up to any
Line from Schedule A/B:  12                                                  applicable statutory
                                                                             limit


Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
                     Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 13 of 47

Debtor 1      Ann Susan Hightower                                                    Case number (if known)   18-35886

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $25.00                   $25.00           Tex. Prop. Code §§ 42.001(a),
cat                                                                         100% of fair market    42.002(a)(11)
                                                                             value, up to any
Line from Schedule A/B:    13
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $0.00                                    Tex. Ins. Code §§ 1108.001,
Principal Life Insurance Company                                            100% of fair market    1108.051
Type: term                                                                   value, up to any
Insured: debtor                                                              applicable statutory
Line from Schedule A/B:  31                                                  limit

Brief description:                                      Unknown                                    Tex. Prop. Code § 42.001(b)(3)
claims against husband                                                      100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    33
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
                         Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 14 of 47
  Fill in this information to identify your case:
  Debtor 1             Ann                    Susan                 Hightower
                       First Name             Middle Name           Last Name

  Debtor 2
  (Spouse, if filing) First Name              Middle Name           Last Name


  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

  Case number          18-35886
  (if known)                                                                                                          Check if this is an
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?

            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                           $556,000.00           $1,100,000.00
AMI Lenders, Inc.                                547 Chelsea St.
Creditor's name
713 N. Post Oak Blvd., Suite 208
Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Houston
City
                         TX
                         State
                                 77024
                                 ZIP Code
                                                  Unliquidated
                                                  Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                   Mortgage
       to a community debt
Date debt was incurred           04/12/2018      Last 4 digits of account number        9     6    8    0




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                             $556,000.00

Official Form 106D                            Schedule D: Creditors Who Have Claims Secured by Property                                       page 1
                        Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 15 of 47

Debtor 1        Ann Susan Hightower                                                       Case number (if known)      18-35886

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                        $1,292,000.00            $2,100,000.00
Capital Farm Credit                           Ranch
Creditor's name
3000 Briarcrest Dr #601
Number      Street


                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
Bryan
City
                        TX
                        State
                                77802
                                ZIP Code
                                               Unliquidated
                                               Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                Deed of Trust
       to a community debt
Date debt was incurred                        Last 4 digits of account number

  2.3                                         Describe the property that
                                              secures the claim:                             Unknown                      $0.00        Unknown
City of Bellaire
Creditor's name
                                              547 Chelsea St.
1001 Preston St
Number      Street


                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
Houston
City
                        TX
                        State
                                77002
                                ZIP Code
                                               Unliquidated
                                               Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                Taxes
       to a community debt
Date debt was incurred                        Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                       $1,292,000.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2
                        Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 16 of 47

Debtor 1        Ann Susan Hightower                                                       Case number (if known)      18-35886

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.4                                         Describe the property that
                                              secures the claim:                             Unknown             $2,100,000.00         Unknown
Fayette County                                Ranch
Creditor's name
Tax Assessor/Collector
Number      Street
151 North Washington St., Room 107
                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
La Grange
City
                        TX
                        State
                                78945
                                ZIP Code
                                               Unliquidated
                                               Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                Taxes
       to a community debt
Date debt was incurred                        Last 4 digits of account number

  2.5                                         Describe the property that
                                              secures the claim:                              $6,679.88            $453,000.00
GUADALUPE COUNTY
Creditor's name
                                              2673 Blumberg Park, Seguin,
TAX ASSESSOR/COLLLECTOR                       TX
Number      Street
307 W COURT ST #102
                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
SEGUIN
City
                        TX
                        State
                                78155
                                ZIP Code
                                               Unliquidated
                                               Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                Taxes
       to a community debt
Date debt was incurred                        Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                             $6,679.88

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3
                        Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 17 of 47

Debtor 1        Ann Susan Hightower                                                       Case number (if known)      18-35886

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.6                                         Describe the property that
                                              secures the claim:                            $21,083.89           $1,100,000.00
Harris County Tax Assessor/Collecto 547 Chelsea St.
Creditor's name
1001 Preston St
Number      Street


                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
Houston
City
                        TX
                        State
                                77002
                                ZIP Code
                                               Unliquidated
                                               Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                Taxes
       to a community debt
Date debt was incurred                        Last 4 digits of account number

  2.7                                         Describe the property that
                                              secures the claim:                           $300,000.00             $453,000.00
Pfluger-Keller Family Investments, Lt
Creditor's name
                                              2673 Blumberg Park, Seguin,
807 Las Cimas Parkway, Suite 200              TX
Number      Street


                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
Austin
City
                        TX
                        State
                                78746
                                ZIP Code
                                               Unliquidated
                                               Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                Deed of Trust
       to a community debt
Date debt was incurred                        Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $321,083.89

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 4
                        Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 18 of 47

Debtor 1        Ann Susan Hightower                                                       Case number (if known)      18-35886

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.8                                         Describe the property that
                                              secures the claim:                             Unknown             $2,100,000.00         Unknown
T. Corena Henderson                           Ranch
Creditor's name
16306 Southampton
Number      Street


                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
Spring
City
                        TX
                        State
                                77379
                                ZIP Code
                                               Unliquidated
                                               Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                Deed of Trust
       to a community debt
Date debt was incurred                        Last 4 digits of account number

  2.9                                         Describe the property that
                                              secures the claim:                             Unknown             $2,100,000.00         Unknown
William B. Henderson
Creditor's name
                                              Ranch
16306 Southampton
Number      Street


                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
Spring
City
                        TX
                        State
                                77379
                                ZIP Code
                                               Unliquidated
                                               Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                Deed of Trust
       to a community debt
Date debt was incurred                        Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                  $0.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                      $2,175,763.77

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 5
                       Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 19 of 47

Debtor 1       Ann Susan Hightower                                                     Case number (if known)    18-35886

 Part 2:        List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and
then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Part 1,
list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1, do not fill out or
submit this page.


  1
        PFLUGER-KELLER FAMILY INVESTMENTS, LTD.                                On which line in Part 1 did you enter the creditor?      2.7
        Name
        c/o Gary W Keller                                                      Last 4 digits of account number
        Number       Street
        1221 South Mopac Expwy. Ste. 400


        Austin                                   TX      78746
        City                                     State   ZIP Code




Official Form 106D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page 6
                           Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 20 of 47
  Fill in this information to identify your case:
  Debtor 1             Ann                   Susan                  Hightower
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

  Case number          18-35886
  (if known)                                                                                                           Check if this is an
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                               $11,470.00         $11,470.00                 $0.00
IRS
Priority Creditor's Name                                   Last 4 digits of account number
Dept. of Treasury                                          When was the debt incurred?          2017
Number       Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                            Contingent
Austin                          TX      73301               Unliquidated
City                            State   ZIP Code            Disputed
Who incurred the debt?     Check one.                      Type of PRIORITY unsecured claim:
 Debtor 1 only                                             Domestic support obligations
 Debtor 2 only                                             Taxes and certain other debts you owe the government
 Debtor 1 and Debtor 2 only                                Claims for death or personal injury while you were
 At least one of the debtors and another                     intoxicated
    Check if this claim is for a community debt
                                                            Other. Specify
Is the claim subject to offset?
 No
 Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
                         Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 21 of 47

Debtor 1       Ann Susan Hightower                                                              Case number (if known)      18-35886

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.
           Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          $5,644.97
American Express                                            Last 4 digits of account number         1     0    0    7
Nonpriority Creditor's Name
                                                            When was the debt incurred?           2/1/2014-10/16/2018
P.O. Box 981535
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
El Paso                         TX      79998-1535
                                                             Disputed
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                             Student loans
  Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                                that you did not report as priority claims
 Debtor 1 and Debtor 2 only                                 Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                    Other. Specify
      Check if this claim is for a community debt               credit card
Is the claim subject to offset?
 No
 Yes
     4.2                                                                                                                                          Unknown
Ann Lacy Brown                                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
c/o Russell S. Briggs
Number        Street                                        As of the date you file, the claim is: Check all that apply.
FIBICH, LEEBRON, COPELAND & BRIGGS                           Contingent
1150 Bissonnet                                               Unliquidated
Houston                         TX      77005
                                                             Disputed
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                             Student loans
 Debtor 1 only                                              Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                                that you did not report as priority claims
 Debtor 1 and Debtor 2 only                                 Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                    Other. Specify
      Check if this claim is for a community debt               Lawsuit
Is the claim subject to offset?
 No
 Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
                         Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 22 of 47

Debtor 1       Ann Susan Hightower                                                         Case number (if known)       18-35886

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

   4.3                                                                                                                             $1,000,000.00
Ayres Pierson,                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Ayres Reese Newman, Andre
Number        Street                                     As of the date you file, the claim is: Check all that apply.
c/o Hall Maines Lugrin                                    Contingent
2800 Post Oak Blvd, 64th Floor                            Unliquidated
Houston                       TX      77056
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Lawsuit
Is the claim subject to offset?
 No
 Yes
   4.4                                                                                                                                 Unknown
Betty Bailey                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
4513 Country Club
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Baytown                       TX      77521
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Claims against William A Hightower
Is the claim subject to offset?
 No
 Yes
   4.5                                                                                                                               $50,000.00
Chuck Grehn                                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
5413 Braeburn Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Bellaire                      TX      77401
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Claims against William A Hightower
Is the claim subject to offset?
 No
 Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 3
                         Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 23 of 47

Debtor 1       Ann Susan Hightower                                                         Case number (if known)       18-35886

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.6                                                                                                                              $35,000.00
Clarissa Willis                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
512 Walnut St
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Mount Vernon                  IN      47620
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Claims against William A Hightower
Is the claim subject to offset?
 No
 Yes
   4.7                                                                                                                                Unknown
Corena & William Henderson                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Luck Law Firm
Number        Street                                     As of the date you file, the claim is: Check all that apply.
15814 Champion Forest Dr.                                 Contingent
Box 14                                                    Unliquidated
Spring                        TX      77379
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Claims
Is the claim subject to offset?
 No
 Yes
   4.8                                                                                                                              $65,000.00
Darwin Wisener                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
21203 Kelliwood Greens
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Katy                          TX      77450
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Loans to William A Hightower
Is the claim subject to offset?
 No
 Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 4
                         Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 24 of 47

Debtor 1       Ann Susan Hightower                                                         Case number (if known)       18-35886

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

   4.9                                                                                                                                     $0.00
DOROTHY AUGUST                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o ESSMYER & DANIEL, P.C.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Frank B. Daniel                                           Contingent
5111 Center Street                                        Unliquidated
Houston                       TX      77007
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Intervention Claims
Is the claim subject to offset?
 No
 Yes
  4.10                                                                                                                             $2,650,000.00
Dorothy August,                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Gregory & Patricia Caldarera
Number        Street                                     As of the date you file, the claim is: Check all that apply.
c/o Frank Daniel                                          Contingent
5111 Center Street                                        Unliquidated
Houston                       TX      77007
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Lawsuit
Is the claim subject to offset?
 No
 Yes
  4.11                                                                                                                              $290,000.00
Doug Bird                                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
15401 SW Caballo Ct. Powell
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Butte                         OR      97753
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Lawsuit
Is the claim subject to offset?
 No
 Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 5
                         Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 25 of 47

Debtor 1       Ann Susan Hightower                                                         Case number (if known)       18-35886

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.12                                                                                                                                    $0.00
EDWARD SHOWERS BROWN II                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Russell S. Briggs
Number        Street                                     As of the date you file, the claim is: Check all that apply.
FIBICH, LEEBRON, COPELAND & BRIGGS                        Contingent
1150 Bissonnet                                            Unliquidated
Houston                       TX      77005
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Lawsuit
Is the claim subject to offset?
 No
 Yes
  4.13                                                                                                                                    $0.00
EnerVest Energy Institutional                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Fund X-A, LP
Number        Street                                     As of the date you file, the claim is: Check all that apply.
1001 Fannin, Suite 800                                    Contingent
                                                          Unliquidated
Houston                       TX      77002
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Assignee of Oil, Gas and Mineral Lease
Is the claim subject to offset?
 No
 Yes
  4.14                                                                                                                                    $0.00
EnerVest Energy Institutional                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Fund X-WI, LP
Number        Street                                     As of the date you file, the claim is: Check all that apply.
1001 Fannin, Suite 800                                    Contingent
                                                          Unliquidated
Houston                       TX      77002
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Assignee of Oil, Gas and Mineral Lease
Is the claim subject to offset?
 No
 Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 6
                         Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 26 of 47

Debtor 1       Ann Susan Hightower                                                         Case number (if known)       18-35886

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.15                                                                                                                                    $0.00
EnerVest Energy Institutional                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Fund X1-A, LP
Number        Street                                     As of the date you file, the claim is: Check all that apply.
1001 Fannin, Suite 800                                    Contingent
                                                          Unliquidated
Houston                       TX      77002
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Assignee of Oil, Gas and Mineral Lease
Is the claim subject to offset?
 No
 Yes
  4.16                                                                                                                                    $0.00
EnerVest Energy Institutional                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Fund X1-WI, LP
Number        Street                                     As of the date you file, the claim is: Check all that apply.
1001 Fannin, Suite 800                                    Contingent
                                                          Unliquidated
Houston                       TX      77002
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Assignee of Oil, Gas and Mineral Lease
Is the claim subject to offset?
 No
 Yes
  4.17                                                                                                                                    $0.00
EnerVest Wachovia Co-Investment                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Partnership, LP
Number        Street                                     As of the date you file, the claim is: Check all that apply.
1001 Fannin, Suite 800                                    Contingent
                                                          Unliquidated
Houston                       TX      77002
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Assignee of Oil, Gas and Mineral Lease
Is the claim subject to offset?
 No
 Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 7
                         Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 27 of 47

Debtor 1       Ann Susan Hightower                                                         Case number (if known)       18-35886

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.18                                                                                                                                    $0.00
EV Properties, LP                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1001 Fannin, Ste. 800
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Houston                       TX      77002
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Assignee of Oil, Gas and Mineral Lease
Is the claim subject to offset?
 No
 Yes
  4.19                                                                                                                             $650,000.00
Gail & Alan Holt                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
216 Brazos Point Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Waco                          TX      76705
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Claims against William A Hightower
Is the claim subject to offset?
 No
 Yes
  4.20                                                                                                                                    $0.00
GREGORY CALDARERA                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o ESSMYER & DANIEL, P.C.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Frank B. Daniel                                           Contingent
5111 Center Street                                        Unliquidated
Houston                       TX      77007
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Intervention Claims
Is the claim subject to offset?
 No
 Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 8
                         Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 28 of 47

Debtor 1       Ann Susan Hightower                                                         Case number (if known)       18-35886

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.21                                                                                                                                    $0.00
LESLIE CLETUS BROWN IV                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Russell S. Briggs
Number        Street                                     As of the date you file, the claim is: Check all that apply.
FIBICH, LEEBRON, COPELAND & BRIGGS                        Contingent
1150 Bissonnet                                            Unliquidated
Houston                       TX      77005
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Lawsuit
Is the claim subject to offset?
 No
 Yes
  4.22                                                                                                                                    $0.00
LUCILE COOPER LACY BROWN-LAPOINT                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Russell S. Briggs
Number        Street                                     As of the date you file, the claim is: Check all that apply.
FIBICH, LEEBRON, COPELAND & BRIGGS                        Contingent
1150 Bissonnet                                            Unliquidated
Houston                       TX      77005
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Lawsuit
Is the claim subject to offset?
 No
 Yes
  4.23                                                                                                                             $600,000.00
Mark Bradley Davis                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 22591
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Houston                       TX      77227
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Loan to William HIghtower
Is the claim subject to offset?
 No
 Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 9
                         Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 29 of 47

Debtor 1       Ann Susan Hightower                                                         Case number (if known)       18-35886

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.24                                                                                                                             $875,000.00
Nelda & Harold Wallace                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o W. Mark Lanier
Number        Street                                     As of the date you file, the claim is: Check all that apply.
6810 Cypress Creek Pkwy                                   Contingent
                                                          Unliquidated
Houston                       TX      77069
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Lawsuit
Is the claim subject to offset?
 No
 Yes
  4.25                                                                                                                                    $0.00
PATRICIA CALDARERA                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o ESSMYER & DANIEL, P.C.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Frank B. Daniel                                           Contingent
5111 Center Street                                        Unliquidated
Houston                       TX      77007
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Intervention Claims
Is the claim subject to offset?
 No
 Yes
  4.26                                                                                                                             $450,000.00
Robert Garfield                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
ABC1
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Room 1                                                    Contingent
425 N. 5th Street                                         Unliquidated
Phoenix                       AZ      85004
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Lawsuit
Is the claim subject to offset?
 No
 Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 10
                         Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 30 of 47

Debtor 1       Ann Susan Hightower                                                         Case number (if known)       18-35886

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.27                                                                                                                             $300,000.00
Robert Lewis                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
10230 Johns Rd
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Boerne                        TX      78006
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Loan to William Hightower
Is the claim subject to offset?
 No
 Yes
  4.28                                                                                                                                Unknown
SAN LUIS ENERGY LLC                                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
11111 KATY FWY
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 870                                                 Contingent
                                                          Unliquidated
Houston                       TX      77079
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Oil, Gas and Mineral Lease
Is the claim subject to offset?
 No
 Yes
  4.29                                                                                                                                $4,659.11
Southwest Airlines Credit Card (Chase Ca                 Last 4 digits of account number       3    7    1    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        4/23/2017-10/17/2018
P.O. Box 15298
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Wilmington                    DE      19850
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           credit card
Is the claim subject to offset?
 No
 Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 11
                         Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 31 of 47

Debtor 1       Ann Susan Hightower                                                         Case number (if known)       18-35886

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.30                                                                                                                                    $0.00
The Ann Lacy Brown Trust                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Russell S. Briggs
Number        Street                                     As of the date you file, the claim is: Check all that apply.
FIBICH, LEEBRON, COPELAND & BRIGGS                        Contingent
1150 Bissonnet                                            Unliquidated
Houston                       TX      77005
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Lawsuit
Is the claim subject to offset?
 No
 Yes
  4.31                                                                                                                                Unknown
The Brown Family                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
14918 LaQuinta
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Houston                       TX      77079
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Claims against William Hightower
Is the claim subject to offset?
 No
 Yes
  4.32                                                                                                                                    $0.00
THE EDWARD SHOWERS BROWN TRUST                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Russell S. Briggs
Number        Street                                     As of the date you file, the claim is: Check all that apply.
FIBICH, LEEBRON, COPELAND & BRIGGS                        Contingent
1150 Bissonnet                                            Unliquidated
Houston                       TX      77005
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Lawsuit
Is the claim subject to offset?
 No
 Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 12
                         Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 32 of 47

Debtor 1       Ann Susan Hightower                                                         Case number (if known)       18-35886

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.33                                                                                                                                    $0.00
THE LESLIE CLETUS BROWN IV TRUST                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Russell S. Briggs
Number        Street                                     As of the date you file, the claim is: Check all that apply.
FIBICH, LEEBRON, COPELAND & BRIGGS                        Contingent
1150 Bissonnet                                            Unliquidated
Houston                       TX      77005
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Lawsuit
Is the claim subject to offset?
 No
 Yes
  4.34                                                                                                                                    $0.00
THE LUCILE COOPER LACY BROWN-LAPOIN Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Russell S. Briggs
Number        Street                                     As of the date you file, the claim is: Check all that apply.
FIBICH, LEEBRON, COPELAND & BRIGGS                        Contingent
1150 Bissonnet                                            Unliquidated
Houston                       TX      77005
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Lawsuit
Is the claim subject to offset?
 No
 Yes
  4.35                                                                                                                                    $0.00
UBS                                                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1285 Avenue of the Americas
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
New York                      NY      10019
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Notice Only
Is the claim subject to offset?
 No
 Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 13
                         Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 33 of 47

Debtor 1       Ann Susan Hightower                                                         Case number (if known)       18-35886

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.36                                                                                                                                Unknown
William Hightower                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
The Metropole
Number        Street                                     As of the date you file, the claim is: Check all that apply.
3616 Richmond Ave, Apt 11005                              Contingent
                                                          Unliquidated
Houston                       TX      77046
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           husband
Is the claim subject to offset?
 No
 Yes
  4.37                                                                                                                              $50,000.00
Zach Trader                                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
5210 Ridgecrest Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
LaPorte                       TX      77571
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Claims against William A. Hightower
Is the claim subject to offset?
 No
 Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 14
                       Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 34 of 47

Debtor 1       Ann Susan Hightower                                                         Case number (if known)    18-35886

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


David L.H. Payne                                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Jason Scofield
Number       Street
                                                            Line   4.11 of (Check one):        Part 1: Creditors with Priority Unsecured Claims

PAYNE & POWELL, PLLC.                                                                          Part 2: Creditors with Nonpriority Unsecured Claims

1001-A E. Harmony Road, Suite 191
                                                            Last 4 digits of account number
Fort Collins                    CO      80525
City                            State   ZIP Code


Ellen A. Yarrell, PC                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2900 Weslayan Street
Number       Street
                                                            Line         of (Check one):       Part 1: Creditors with Priority Unsecured Claims
                                                            Attorney Fees
Suite 350                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims


                                                            Last 4 digits of account number
Houston                         TX      77027
City                            State   ZIP Code


Gary Keller                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Mary Pfluger-Keller
Number       Street
                                                            Line         of (Check one):       Part 1: Creditors with Priority Unsecured Claims

105 Riley Road                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Austin                          TX      78746
City                            State   ZIP Code


GeoSouthern Enerery Partners, LP                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1425 Lake Front Circle #200
Number       Street
                                                            Line         of (Check one):       Part 1: Creditors with Priority Unsecured Claims
                                                            Oil, Gas and Mineral
                                                            Lease
                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims


                                                            Last 4 digits of account number
The Woodlands                   TX      77380
City                            State   ZIP Code


H. Julian Frachtman                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
3100 Richmond, Suite 203                                    Line   4.26 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims


                                                            Last 4 digits of account number
Houston                         TX      77098
City                            State   ZIP Code


Hightower Capital Group, Inc.                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
3616 Richmond Ave., Suite 11005                             Line         of (Check one):       Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims


                                                            Last 4 digits of account number
Houston                         TX      77046-3637
City                            State   ZIP Code



Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 15
                       Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 35 of 47

Debtor 1     Ann Susan Hightower                                                   Case number (if known)    18-35886

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

W. Mark Lanier                                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
6810 Cyoress Creek Pkwy
Number      Street
                                                    Line   4.24 of (Check one):        Part 1: Creditors with Priority Unsecured Claims

                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims


                                                    Last 4 digits of account number
Houston                    TX      77069
City                       State   ZIP Code


Walter "Mac" Miller, IV                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
P.O. Box 130434
Number      Street
                                                    Line         of (Check one):       Part 1: Creditors with Priority Unsecured Claims
                                                    Attorney for William
                                                    Hightower
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims


                                                    Last 4 digits of account number
Houston                    TX      77219
City                       State   ZIP Code


William P. Maines                                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2800 Post Oak Blvd.
Number      Street
                                                    Line   4.3 of (Check one):         Part 1: Creditors with Priority Unsecured Claims

                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims


                                                    Last 4 digits of account number
Houston                    TX      77056-6125
City                       State   ZIP Code




Official Form 106E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                          page 16
                        Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 36 of 47

Debtor 1       Ann Susan Hightower                                                     Case number (if known)        18-35886

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.             $11,470.00

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.             $11,470.00




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.                     $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +      $7,025,304.08


                  6j.   Total.   Add lines 6f through 6i.                                            6j.          $7,025,304.08




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                      page 17
                         Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 37 of 47
 Fill in this information to identify your case:
 Debtor 1              Ann                   Susan                  Hightower
                       First Name            Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name              Middle Name            Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number           18-35886
 (if known)                                                                                                           Check if this is an
                                                                                                                       amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.     Do you have any executory contracts or unexpired leases?

            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
       is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
       executory contracts and unexpired leases.

           Person or company with whom you have the contract or lease                   State what the contract or lease is for

 2.1       Jaguar Southwest Houston                                                     car lease
           Name
                                                                                        Contract to be ASSUMED
           10150 Southwest Fwy
           Number    Street



           Houston                                      TX        77074
           City                                         State     ZIP Code




Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                page 1
                          Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 38 of 47
 Fill in this information to identify your case:
 Debtor 1               Ann                    Susan                       Hightower
                        First Name             Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) First Name                Middle Name                 Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number            18-35886
 (if known)                                                                                                                 Check if this is an
                                                                                                                             amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                          12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.    Do you have any codebtors?           (If you are filing a joint case, do not list either spouse as a codebtor.)
       No
       Yes
2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
      include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
             No
             Yes
                 In which community state or territory did you live?                   Texas     Fill in the name and current address of that person.

                 William Andrew Hightower
                 Name of your spouse, former spouse, or legal equivalent

                 Number          Street




                 City                                            State           ZIP Code

3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
      person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
      creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
      Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

          Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                  Check all schedules that apply:

3.1       Spouse Name Not Entered
          Name                                                                                         Schedule D, line        2.1

          Number        Street                                                                         Schedule E/F, line

                                                                                                       Schedule G, line
                                                                                                  AMI Lenders, Inc.
          City                                           State             ZIP Code




Official Form 106H                                                Schedule H: Your Codebtors                                                            page 1
                       Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 39 of 47

Debtor 1      Ann Susan Hightower                                        Case number (if known)         18-35886

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.2    Spouse Name Not Entered
       Name                                                                       Schedule D, line      2.3

       Number        Street                                                       Schedule E/F, line

                                                                                  Schedule G, line
                                                                             City of Bellaire
       City                             State       ZIP Code


3.3    Spouse Name Not Entered
       Name                                                                       Schedule D, line      2.4

       Number        Street                                                       Schedule E/F, line

                                                                                  Schedule G, line
                                                                             Fayette County
       City                             State       ZIP Code


3.4    Spouse Name Not Entered
       Name                                                                       Schedule D, line      2.5

       Number        Street                                                       Schedule E/F, line

                                                                                  Schedule G, line
                                                                             GUADALUPE COUNTY
       City                             State       ZIP Code


3.5    Spouse Name Not Entered
       Name                                                                       Schedule D, line

       Number        Street                                                       Schedule E/F, line     2.1

                                                                                  Schedule G, line
                                                                             IRS
       City                             State       ZIP Code




Official Form 106H                              Schedule H: Your Codebtors                                              page 2
                           Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 40 of 47
 Fill in this information to identify your case:
     Debtor 1               Ann                  Susan                  Hightower
                            First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2
     (Spouse, if filing)    First Name           Middle Name            Last Name                               An amended filing

     United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF TEXAS                                      A supplement showing postpetition
                                                                                                                 chapter 13 income as of the following date:
     Case number            18-35886
     (if known)
                                                                                                                 MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                              Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page        Employment status            Employed                                          Employed
      with information about                                          Not employed                                      Not employed
      additional employers.
                                         Occupation             Doctor
      Include part-time, seasonal,
      or self-employed work.             Employer's name        Innovative Radiology, PA

      Occupation may include             Employer's address
      student or homemaker, if it                               Number Street                                      Number Street
      applies.




                                                                City                         State   Zip Code      City                   State   Zip Code

                                         How long employed there?


 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                             For Debtor 1            For Debtor 2 or
                                                                                                                     non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.               $21,000.00                     $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                       3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                  4.           $21,000.00                     $0.00




Official Form 106I                                             Schedule I: Your Income                                                                page 1
                            Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 41 of 47

Debtor 1        Ann Susan Hightower                                                                                          Case number (if known)    18-35886
                                                                                                                    For Debtor 1         For Debtor 2 or
                                                                                                                                         non-filing spouse
     Copy line 4 here .................................................................................    4.         $21,000.00                 $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.             $0.00                 $0.00
     5b. Mandatory contributions for retirement plans                                                       5b.             $0.00                 $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.             $0.00                 $0.00
     5d. Required repayments of retirement fund loans                                                       5d.             $0.00                 $0.00
     5e. Insurance                                                                                          5e.             $0.00                 $0.00
     5f. Domestic support obligations                                                                       5f.             $0.00                 $0.00
     5g. Union dues                                                                                         5g.             $0.00                 $0.00
     5h. Other deductions.
          Specify:                                                                                          5h. +           $0.00                 $0.00
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                  6.              $0.00                 $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.          7.         $21,000.00                 $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.             $0.00                 $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.
     8b. Interest and dividends                                                                             8b.             $0.00                 $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.             $0.00                 $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                          8d.             $0.00                 $0.00
     8e. Social Security                                                                                    8e.             $0.00                 $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.             $0.00                 $0.00
     8g. Pension or retirement income                                                                       8g.             $0.00                 $0.00
     8h. Other monthly income.
         Specify:                                                                                           8h. +           $0.00                 $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.              $0.00                 $0.00

10. Calculate monthly income. Add line 7 + line 9.                                                          10.        $21,000.00    +            $0.00      =     $21,000.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                         11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                         12.          $21,000.00
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                               Combined
                                                                                                                                                                 monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.             None.
           Yes. Explain:




Official Form 106I                                                                  Schedule I: Your Income                                                               page 2
                           Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 42 of 47
 Fill in this information to identify your case:
                                                                                                        Check if this is:
     Debtor 1               Ann
                            First Name
                                                  Susan
                                                  Middle Name
                                                                         Hightower
                                                                         Last Name
                                                                                                         An amended filing
                                                                                                         A supplement showing postpetition
                                                                                                            chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)    First Name            Middle Name            Last Name                          following date:

     United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF TEXAS                                    MM / DD / YYYY
     Case number            18-35886
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                 No
                 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                 No
                                                                                      Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                Yes. Fill out this information
                                               for each dependent.................... Debtor 1 or Debtor 2           age              live with you?
      Debtor 2.
                                                                                                                                         No

      Do not state the dependents'
                                                                                                                                         Yes

      names.                                                                                                                             No
                                                                                                                                         Yes

                                                                                                                                         No
                                                                                                                                         Yes

                                                                                                                                         No
                                                                                                                                         Yes

                                                                                                                                         No
                                                                                                                                         Yes
3.    Do your expenses include                       No
      expenses of people other than
      yourself and your dependents?
                                                     Yes



 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                     Your expenses

4.    The rental or home ownership expenses for your residence.                                                     4.                    $9,890.50
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                         4a.

      4b. Property, homeowner's, or renter's insurance                                                              4b.

      4c. Home maintenance, repair, and upkeep expenses                                                             4c.                    $850.00
      4d. Homeowner's association or condominium dues                                                               4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                       page 1
                      Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 43 of 47

Debtor 1      Ann Susan Hightower                                                      Case number (if known)   18-35886
                                                                                                          Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                     5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                             6a.                     $505.00
     6b. Water, sewer, garbage collection                                                           6b.                     $505.00
     6c. Telephone, cell phone, Internet, satellite, and                                            6c.                     $100.00
         cable services
     6d. Other. Specify:                                                                            6d.                     $505.00
7.   Food and housekeeping supplies                                                                 7.                      $500.00
8.   Childcare and children's education costs                                                       8.

9.   Clothing, laundry, and dry cleaning                                                            9.                      $100.00
10. Personal care products and services                                                             10.

11. Medical and dental expenses                                                                     11.                     $150.00
12. Transportation. Include gas, maintenance, bus or train                                          12.                     $110.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                   13.                     $750.00
    magazines, and books
14. Charitable contributions and religious donations                                                14.                     $400.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                          15a.                    $144.81
     15b.   Health insurance                                                                        15b.                   $1,596.00
     15c.   Vehicle insurance                                                                       15c.                    $315.00
     15d.   Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                        16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1                                                              17a.                    $926.00
     17b.   Car payments for Vehicle 2                                                              17b.

     17c.   Other. Specify:                                                                         17c.

     17d.   Other. Specify:                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as                   18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify: support for mother                                                                     19.                     $600.00
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.   Mortgages on other property                                                             20a.

     20b.   Real estate taxes                                                                       20b.

     20c.   Property, homeowner's, or renter's insurance                                            20c.

     20d.   Maintenance, repair, and upkeep expenses                                                20d.

     20e.   Homeowner's association or condominium dues                                             20e.



 Official Form 106J                                        Schedule J: Your Expenses                                           page 2
                      Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 44 of 47

Debtor 1      Ann Susan Hightower                                                              Case number (if known)   18-35886
21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.              $17,947.31
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.              $17,947.31

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.              $21,000.00
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –          $17,947.31
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                  $3,052.69

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

          No.
          Yes. Explain here:
                Trying to lower current Home Equity Loan from current interest rate; legal fees expected to increase




 Official Form 106J                                         Schedule J: Your Expenses                                                  page 3
                          Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 45 of 47
 Fill in this information to identify your case:
 Debtor 1               Ann                          Susan                       Hightower
                        First Name                   Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) First Name                      Middle Name                 Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number            18-35886
 (if known)                                                                                                                                      Check if this is an
                                                                                                                                                  amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                             Your assets
                                                                                                                                                             Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)

     1a. Copy line 55, Total real estate, from Schedule A/B...................................................................................................       $3,653,000.00


     1b. Copy line 62, Total personal property, from Schedule A/B........................................................................................                $74,763.78


     1c. Copy line 63, Total of all property on Schedule A/B..................................................................................................       $3,727,763.78


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.....                                         $2,175,763.77

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.....................................                                 $11,470.00


     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................. +                                $7,025,304.08



                                                                                                                             Your total liabilities                  $9,212,537.85




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
     Copy your combined monthly income from line 12 of Schedule I......................................................................................                  $21,000.00

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J................................................................................................              $17,947.31




Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                                                            page 1
                       Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 46 of 47

Debtor 1      Ann Susan Hightower                                                          Case number (if known)     18-35886


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

          No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
          Yes


7.   What kind of debt do you have?

          Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

          Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

     9d. Student loans. (Copy line 6f.)

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +

     9g. Total.    Add lines 9a through 9f.




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
                       Case 18-35886 Document 22 Filed in TXSB on 11/12/18 Page 47 of 47
 Fill in this information to identify your case:
 Debtor 1           Ann                 Susan                Hightower
                    First Name          Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number        18-35886
 (if known)                                                                                                 Check if this is an
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

         No

         Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Ann Susan Hightower                              X
        Ann Susan Hightower, Debtor 1                          Signature of Debtor 2

        Date 11/12/2018                                        Date
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
